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AO 91 (Rev. 08/09) Criminal Complaint United States District Court
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eh ew UNITED STATES DISTRICT COURT sit 19 a
wh, a1 for the AUG A 201

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Southern District of Texas David J. Br adley, Clerk
United States of America )
Vv. )

Cesar TRUJILLO )  caseno. AA- 7 9-/ GSI VY
YOB: 1995 )
U.S. Citizen )
~ ) a
Defendant(s) LE

 

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of May 28, 2017 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

18 USC 924 (a}(1)(A) - Whoever knowingly makes any false statement or

18 USC 924(a)(1)(A) representation with respect to the information required by this chapter to be kept in the
records of a person licensed under this chapter or in applying for any license or
exemption or relief from disability under the provisions of this chapter.

This criminal complaint is based on these facts:

(See ATTACHMENT A as a continuation)

Continued on the attached sheet.

 

 

Complainant’s signature

 

lo Steven Medrano - ATF Special Agent
A fp COV el) L NGL Printed name and title

Sworn to before me and signed in my oreser tM

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“gd: 3 J arw Judge's signature

City and state: McAllen, Texas Peter E. Ormsby, U.S. Magistrate sem’

Printed name and title
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AO 91 (Rev. 02/09) Criminal Complaint

ATTACHMENT A

 

 

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The facts establishing the foregoing issuance of an arrest warrant are based on the following:
I, Special Agent Steven Medrano, affiant, do hereby depose and state the following:

1. lam a Special Agent of the United States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF). I have been a law enforcement officer for over eight years. My duties include the
investigation of violations of the federal firearms laws. I know it to be unlawful for any person who knowingly
makes any false statement or representation with respect to the information required by chapter 18 U.S.C. 924

(a)(1)(A) to be kept in the records of a person licensed under this chapter. This criminal complaint is based on
the following facts:

2. On June 3, 2017, Alcohol, Tobacco, Firearms, and Explosives (ATF) Special Agents (SAs) recovered a
Barrett, model 82A1, 50 caliber rifle during the arrest of a convicted felon. The convicted felon was pulled
over by a Texas Department of Public Safety Trooper in San Manuel, Texas, for a traffic violation. The traffic
stop lead to the discovery of multiple firearms to include a Barrett, model 82A1, 50 caliber rifle with an
obliterated serial number. ATF Agents were able to recover the serial number identified as AA006016 and
traced the firearm to its original purchaser identified as Cesar TRUJILLO. According to ATF Form 4473,
TRUJILLO purchased the aforementioned firearm from Federal Firearms Licensee (FFL) Zeroed In Armory,
located in Houston, Texas on May 28, 2017, therefore having a time to crime of six days.

3. On August 24, 2017, ATF Agents in Houston, TX interviewed TRUJILLO at the ATF Office in Houston,
TX. Prior to the interview, TRUJILLO was presented with ATF Form 3200.4 Advice of Rights and Waiver,

which TRUJILLO acknowledged and waived, agreeing to speak with agents without the presence of an
attorney.

4. During the interview, TRUJILLO admitted to purchasing the Barrett rifle for his friend. TRUJILLO stated
he agreed to purchase the Barrett rifle for his friend and went to FFL Zeroed In Armory in Houston, Texas and
placed a deposit of $4,000. TRUJILLO stated upon returning to the FFL approximately a week later to
complete the purchase, his friends brother accompanied him to the FFL store as TRUJILLO completed the
ATF Form 4473. TRUJILLO knowingly made a false representation on the Form 4473 when he indicated that
he was the actual purchaser of the firearm when in truth and in fact, he was not.

5. TRUJILLO stated he was paid $500 to purchase the Barrett rifle for his friend. TRUJILLO stated he was
informed by his friend, the serial number to the Barrett rifle had been obliterated and was suppose to be taken
to Mexico.
